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                  EXHIBIT G
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IN RE PACIFIC FERTILITY                                                                        J.DAVID WININGER, Ph.D.
CENTER LITIGATION                                                                                      November 30, 2020
                                                     Page 2                                                             Page 4
 1                 UNITED STATES DISTRICT COURT                1                        I N D E X
 2              NORTHERN DISTRICT OF CALIFORNIA                2
 3                   SAN FRANCISCO DIVISION                    3 EXAMINATION BY:                               PAGE
 4                                                             4     MR. DUFFY                                    6
 5                                                             5     MS. ZEMAN                                   82
 6                                                             6                        ---oOo---
   IN RE PACIFIC FERTILITY        )
 7 CENTER LITIGATION,         ) Case No. 3:18-cv-01586-JSC     7
                                  )                                                  E X H I B I T S
 8 __________________________)                                 8
                                                                 DEFENDANT'S
 9                                                             9 EXHIBIT NO.         DESCRIPTION               PAGE
10                                                            10      222    November 6, 2020, Expert Report Of
                                                                           David Wininger, Ph.D., (40 Pages)     26
11                                                            11
12                                                            12                        ---oOo---
13           VIDEOTAPED & VIDEOCONFERENCED DEPOSITION of J.   13
14 DAVID WININGER, Ph.D., taken on behalf of Defendant        14
15 remotely beginning at 8:03 a.m., Monday, November 30,      15
16 2020, before CHERREE P. PETERSON, RPR, CRR, Certified      16
17 Shorthand Reporter No. 11108.                              17
18                                                            18
19                                                            19
20                                                            20
21                                                            21
22                                                            22
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25                                                            25

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 1                    A P P E A R A N C E S
                                                               1                NOVEMBER 30, 2020
 2
                                                               2                 ---oOo---
 3   FOR THE PLAINTIFFS:
                                                               3         BE IT REMEMBERED that set on Monday, the 30th
 4       GIBBS LAW GROUP LLP
         505 14th Street, Suite 1110                           4   day of November, 2020, commencing at the hour of 8:03
 5       Oakland, California 94162
         BY: AMY M. ZEMAN, ESQ.                                5   a.m., taken remotely before me, Cherree P. Peterson,
 6       (510) 350-9700
                                                               6   RPR, CRR, CSR No. 11108, a Certified Shorthand Reporter,
         amz@classlawgroup.com
 7                                                             7   personally appeared
 8   FOR THE DEFENDANT CHART INDUSTRIES, INC.:                 8             J. DAVID WININGER, Ph.D.,
 9       SWANSON, MARTIN & BELL, LLP                           9   having been called as a witness by the defendant, who
         330 N Wabash, Suite 3300
10       Chicago, Illinois 60611                              10   having been duly sworn by me to tell the truth, the
         BY: JOHN J. DUFFY, ESQ.
11            KEVIN M. RINGEL, ESQ.                           11   whole truth, and nothing but the truth, was thereupon
              MARGARET C. REDSHAW, ESQ.
12       (312) 321-9100                                       12   examined and testified as hereinafter set forth.
         jduffy@smbtrials.com
13       kringel@smbtrials.com                                13                 ---oOo---
         mredshaw@smbtrials.com
14                                                            14         THE VIDEOGRAPHER: Good morning, Counsel. My
15   THE VIDEOGRAPHER:                                        15   name is Philip Knowles. And I am the host and
16       PHILIP KNOWLES                                       16   videographer associated with Barkley Court Reporters
17                                                            17   located at 201 California Street, Suite 375, in San
18                                                            18   Francisco, California 94111. The date today is Monday,
19                                                            19   November 30th, 2020, and the time is approximately 8:03
20                                                            20   a.m. Pacific Standard Time.
21                                                            21         This deposition is taking place remotely via
22                                                            22   Zoom in the matter of Pacific Fertility Center
23                                                            23   litigation with case number 3:18-CV-01586-JSC. This is
24                                                            24   the videotaped deposition of Ph.D. David Wininger being
25                                                            25   taken on behalf of counsel for defendants.


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 1         Will counsels for the parties please voice                      1    A. Okay.
 2   identify themselves.                                                  2    Q. If you answer my questions, I'm going to assume
 3         MR. DUFFY: John Duffy for Chart.                                3   that you have understood what I've asked you. Is that
 4         MS. ZEMAN: Amy Zeman for the plaintiffs.                        4   fair?
 5         THE VIDEOGRAPHER: Thank you. The court                          5    A. That's fair.
 6   reporter may now swear in the witness, and we can                     6    Q. Okay. How old are you, sir?
 7   proceed.                                                              7    A. I am 57.
 8         THE REPORTER: Raise your right hand, please,                    8    Q. And where did you grow up?
 9   Doctor.                                                               9    A. I grew up in upper east Tennessee, in
10         (Whereupon the witness was placed under oath.)                 10   Blountville, Tennessee. It's close to Kingsport,
11         THE REPORTER: Thank you.                                       11   Bristol, up in the -- kind of close to Virginia.
12              EXAMINATION BY MR. DUFFY                                  12    Q. And where did you go to college?
13     Q. Good morning, Dr. Wininger. My name is John                     13    A. Undergraduate I went to East Tennessee State
14    Duffy; and I represent Chart, Inc., the maker of the MVE            14   University in Johnson City, Tennessee. I got my BS
15    freezer at issue in this case. I'm going to be taking               15   there. And then I went to University of Tennessee,
16    your deposition this morning. I know you have and are               16   Knoxville, for my master's degree in biotechnology and
17    represented by able counsel, but I figured we'd just go             17   my Ph.D. in zoology.
18    over a couple of ground rules to hopefully make this a              18    Q. And when did you receive your undergraduate
19    little bit easier for you and me, for Ms. Zeman and for             19   degree?
20    the court reporter.                                                 20    A. I received that in '84.
21           So as you can see, we are taking your                        21    Q. And when did you receive your master's?
22    deposition remotely. And that's obviously being done on             22    A. '86.
23    Zoom. Normally these things are done while we're all in             23    Q. And how about your Ph.D.?
24    the same room. And some of the body language that we                24    A. 1990.
25    could get for being in the same room would be easier                25    Q. What was the thesis that you wrote for your


                                                                 Page 7                                                              Page 9

 1    seen, but here we're going to be doing it remotely.                  1   Ph.D.?
 2          One of the things that's really, really                        2    A. My Ph.D. was on the -- it was the maturation of
 3    important for Cherree, our court reporter, is that we                3   immature oocytes and the identification of bonding sites
 4    both wait for the other person to finish speaking before             4   for prolactin via scanning electron microscopy because
 5    we begin speaking. And the reason we have to do that is              5   my master's -- my master's work was showing that
 6    Cherree can't take two people talking down on her                    6   prolactin increased maturation of oocytes. So I showed
 7    machine at the same time. Okay?                                      7   that through scanning microscopy I could localize the
 8     A. Okay.                                                            8   receptor sites for prolactin on the oocytes for several
 9     Q. One of the things I think you'll probably see                    9   different species.
10    as I'm asking my questions is you'll know the answer                10    Q. Have you ever given a deposition before?
11    even before I'm finished, but that's where we have to               11    A. No, I haven't.
12    hope for you to just wait and then let me finish and                12    Q. I was able to review your curriculum vitae
13    then you can give your answer. Okay?                                13   before the beginning of our deposition. I just had a
14     A. Okay.                                                           14   couple of questions for you about where you're working
15     Q. I also need you to make sure all of your                        15   now. Well, even before I get there, because this is
16    answers are audible, out loud. You can't shake your                 16   going to be sort of relevant to some of my questions, do
17    head or shrug your shoulders in response to a question.             17   you currently live in Advance, North Carolina?
18    Okay?                                                               18    A. Yes, I do.
19     A. Okay.                                                           19    Q. And in your CV I noticed that you list five
20     Q. And that's because Cherree can't take that down                 20   labs that you're currently the lab director for; is that
21    on a transcript. Okay?                                              21   right?
22     A. Okay.                                                           22    A. That is correct.
23     Q. I don't always ask the best questions. If I                     23    Q. The first one is Westlake IVF in Austin, Texas;
24    ask you a question that doesn't make sense, please go               24   is that right?
25    ahead and ask me to rephrase it. Okay?                              25    A. That is one of them, correct.


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 1    Q. And are you an on-site or off-site director for                   1    A. Yes, I did hold that.
 2   them?                                                                 2    Q. Why did you only serve in that role for three
 3    A. I am the off-site director for that lab.                          3   months?
 4    Q. And then another lab that you are a director                      4    A. I actually held that position previously for
 5   for is Atlantic Reproductive Medicine in Raleigh, North               5   four years earlier in the 2000s when I first moved to
 6   Carolina; is that right?                                              6   North Carolina. The reason I held it for only three
 7    A. That's correct.                                                   7   months during this second time I worked there was that
 8    Q. Are you on-site or an off-site director for the                   8   it was a transition period where a lab was closed where
 9   Atlantic Reproductive Medicine lab?                                   9   I was directing in High Point, North Carolina, for ten
10    A. I am on site.                                                    10   years. The University of North Carolina bought the
11    Q. And then you are also the lab director at Magee                  11   hospital and closed our program.
12   Women's Hospital in Pittsburgh, Pennsylvania; correct?               12         So the medical director, the program director
13    A. Correct.                                                         13   of OB-GYN at Wake Forest gave me a position for a short
14    Q. Are you an on-site or off-site director for                      14   amount of time until I found something else that I was
15   Magee Women's Hospital?                                              15   interested in. So I did -- I was there for a short
16    A. I'm the off-site director.                                       16   amount of time until I started on site at Atlantic
17    Q. And you're also the laboratory director of the                   17   Reproductive Medicine and started more off-site lab
18   University of Pittsburgh Physicians in Hermitage,                    18   directorships.
19   Pennsylvania; is that right?                                         19    Q. I notice in your curriculum vitae that you were
20    A. Yes.                                                             20   the lab director at Toll Center for Reproductive
21    Q. And are you on site or off site there?                           21   Sciences at Abington Memorial Hospital in Abington,
22    A. I am off site.                                                   22   Pennsylvania, from about 1993 to 1998. Does that sound
23    Q. And then, finally, you are the lab director at                   23   about right?
24   Carolina Specialty Care; is that correct?                            24    A. That's correct.
25    A. That's correct.                                                  25    Q. Did you work with Dr. Somkuti at Abington?


                                                                Page 11                                                              Page 13

 1    Q. And is that an on-site or off-site lab                            1    A. Yes, I worked with Dr. Somkuti for several
 2   directorship?                                                         2   years. He was not there when I took the position, but
 3    A. That is off site.                                                 3   he joined a practice for the last few years that I was
 4    Q. So currently you have one on-site director                        4   at Abington.
 5   position and four off-site director positions; correct?               5    Q. And are you and Dr. Somkuti friends?
 6    A. That is correct.                                                  6    A. No, we are not.
 7    Q. Is the Magee Women's Hospital lab accredited by                   7    Q. Are you familiar with the concept of long-term
 8   the College of American Pathologists?                                 8   storage of human tissue by outside companies?
 9    A. Yes, it is.                                                       9    A. Yes, I am.
10    Q. Is the University of Pittsburgh Physicians                       10    Q. In the labs that you currently direct, are you
11   laboratory accredited by the College of American                     11   doing long-term storage in your labs or are you sending
12   Pathologists?                                                        12   the tissue off site to a long-term storage company for
13    A. Yes, it is.                                                      13   future use?
14    Q. How about Carolina Specialty Care, is that also                  14    A. Really, all the labs where I work that we do in
15   accredited by CAP?                                                   15   vitro fertilization we do a combination of the two with
16    A. Yes.                                                             16   the majority on site.
17    Q. And the Atlantic Reproductive Medicine lab, is                   17    Q. What's the distinction between short-term and
18   that CAP accredited?                                                 18   long-term in your lab?
19    A. Yes, it is.                                                      19    A. Yeah, I'll speak first of our lab in Raleigh,
20    Q. And Westlake as well?                                            20   Atlantic Reproductive, since that's where I'm on site.
21    A. Yes.                                                             21   Most of our patients do store on site, but the patients
22    Q. In your curriculum vitae you list an assistant                   22   that we do procedures for embryo cryopreservation,
23   professorship at Wake Forest, and it lasted from October             23   oocyte -- or, actually, vitrification embryo,
24   of 2017 to January of 2018 or about three months. Is                 24   vitrification oocyte, vitrification or sperm
25   that a position that you held?                                       25   cryopreservation for cancer treatment or if they're


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 1   going to military. We have a lot of military officers            1   have to put these eggs or embryos are going to be
 2   or members that come in that cryopreserve sperm before           2   long-term storage. And we put that in there so that
 3   they go off seas, overseas, and we cryopreserve sperm            3   means we're not going -- we're not going to do anything
 4   for them. And those go into long-term storage that we            4   with them for a year. It's the same with embryos.
 5   send to a company off site. So any samples that we               5    Q. And what facility do you send eggs and embryos
 6   think are going to be long-term storage that they do not         6   to for long-term storage?
 7   intend to use for years, we do store those off site.             7    A. ReproTech.
 8    Q. At Atlantic Reproductive do you have an egg                  8    Q. And which location do you send those to?
 9   freezing program?                                                9    A. We send those to a location in Florida.
10    A. Yes, we do.                                                 10    Q. Do the patients at your labs then enter into a
11    Q. And do you store those at Atlantic Reproductive             11   storage agreement with ReproTech?
12   in Raleigh, North Carolina, or do you send those out for        12    A. Some of -- patients that are going to actually
13   long-term storage?                                              13   use ReproTech, they do sign a long term -- they do have
14    A. It depends on what the patient's wishes are.                14   to sign a storage document with ReproTech. And a lot of
15   If they plan on using those eggs within a year, we keep         15   the -- we have a lot of the men that are going to be
16   them on site. If it's going to be a long term, again, a         16   doing sperm cryopreservation. We have them sign the
17   cancer patient or something like that that's going to be        17   document. Really, all of them do. Because unless
18   a very long term or they're going to have chemotherapy          18   they're freezing and ready -- you know, if their wife is
19   and other types of procedures, we store those off site.         19   actively having in vitro fertilization and they want to
20   And then also --                                                20   freeze a few samples before the egg retrieval in case
21    Q. And -- sorry. My bad. Sorry. Go ahead.                      21   they have an issue the day of. Other men do freeze for
22    A. That's all right. And we also cryopreserve for              22   long-term storage, and we do definitely have them sign a
23   some egg banks. And those -- we store those on site             23   ReproTech agreement.
24   until they are -- they are needed somewhere else, and           24    Q. And then the storage fees for long-term storage
25   then we send those to the different IVF facilities.             25   of eggs or sperm, the payments would go to ReproTech,


                                                           Page 15                                                                   Page 17

 1    Q. So at Atlantic Reproductive you actually have a              1   not to your lab. Is that fair?
 2   section of your lab dedicated to storing eggs for                2    A. That's correct.
 3   another facility?                                                3         MS. ZEMAN: Objection. John, what is the
 4    A. Not another facility. It's another -- it's a                 4   relevance of this to his report?
 5   -- it's an egg bank that we vitrify oocytes for them.            5         MR. DUFFY: It's just background.
 6   There are something like 50 different IVF programs in            6         MS. ZEMAN: It does not seem particularly
 7   the US that take part in this. And then when the                 7   relevant to his opinions as stated in his report.
 8   patient gets -- has a cat -- they have a catalog of the          8         But, David, you can go ahead and answer his
 9   eggs. And if they pick some eggs that are at our                 9   last question.
10   facility, we are contacted by the egg bank. And they            10         MR. DUFFY: He did, actually.
11   send a dry shipper, which is a small liquid nitrogen            11    Q. In your review of the materials, Dr. Wininger,
12   vessel that you actually add nitrogen to it and it              12   did you see whether PFC employed a -- well, strike that.
13   absorbs into sort of a sponge-type area. And we put the         13         In your review of the materials, did PFC do
14   cane of oocytes into that, and they are picked up by a          14   long-term storage of eggs and embryos?
15   courier and shipped to the IVF center that requested --         15    A. Not that I noticed. What I saw was on-site
16   that the patient requested these oocytes. So that's --          16   storage.
17   we do not do a lot of that. The vast majority egg               17    Q. And I guess that's my fault. That was a bad
18   cryopreservation we do is our -- is for our patients.           18   question. Would PFC store eggs and embryos for more
19    Q. And do you send any of those eggs off site if               19   than one year?
20   the patient, for example, doesn't know when they may use        20    A. Yes, they would.
21   them in the future?                                             21    Q. And did you see any evidence that they offered
22    A. If they -- again, if they do not intend on                  22   long-term storage at another facility?
23   using them within a year, we can send them off site             23    A. No, I didn't.
24   because it's either long-term banking and there's a             24    Q. What is the American Association of Tissue
25   place in our -- a registry, our SART registry where we          25   Banks?


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 1    A. That is an organization that is involved with                1   And then -- that's correct.
 2   -- as it says, just any issues involving any type of             2    Q. And do you also need an educational background
 3   tissue banking.                                                  3   of a particular type?
 4    Q. And do they provide certification process?                   4    A. Yes.
 5    A. Not that I know of. I do not -- I do not know                5    Q. And what is that?
 6   a lot about AATB. But they do have recommendations and           6    A. A degree in a biological, chemical, or a
 7   information. But I do not know of centers that are --            7   physical science.
 8   receive accreditation by AATB.                                   8    Q. And when you're gaining the minimum standards
 9    Q. What is the American Board of Bioanalysis?                   9   for assisted reproductive technology procedures, you're
10    A. American Board of Bioanalysis is sort of our --             10   performing procedures pursuant to the guidelines set
11   one of our agencies that we go through to receive our           11   forth by the American Society of Reproductive Medicine;
12   accreditation individually. So the -- when I received           12   correct?
13   my Ph.D. and -- I had to get an HCLD, high complexity           13    A. Yes.
14   laboratory director, to get that. I had to apply                14    Q. Is it true that federal regulations recognize
15   through -- the application was actually through AAB,            15   AAB as the certifying agency for directors and clinical
16   American Association -- American Association of                 16   consultants?
17   Bioanalysis. But the actual certificate comes from the          17    A. Yes, they do.
18   Board, American Board of Bioanalysis. So they -- all of         18    Q. And most states recognize AAB as the certifying
19   my -- when I -- I have to get so many hours of                  19   agency for lab directors. Is that a fair statement?
20   continuing education credit every two years as part of          20    A. Yes.
21   that HCLD, and that is -- that goes through the Board.          21    Q. I notice that you also have another designation
22    Q. So are you familiar with the board                          22   from AAB which is clinical consultant; is that right?
23   certification process for a physician?                          23    A. Yes.
24    A. No, I am not.                                               24    Q. What is a clinical consultant?
25    Q. Would an AAB HCLD certification be like a board             25    A. That -- the clinical consultant is another


                                                           Page 19                                                              Page 21

 1   certification for a lab director?                                1   requirement. You have to have a clinical consultant at
 2    A. Yes, it is.                                                  2   your -- at your laboratory, at your -- at your clinic.
 3    Q. And you have a -- you're board certified as a                3   So a lot of -- a lot of times M.D.s will fill that role.
 4   high complexity lab director; is that right?                     4   But I -- AAB will certify you as a clinical consultant.
 5    A. That is correct.                                             5         So the lab can be -- the HCLD can also be a
 6    Q. And Grace Centola is also board certified as a               6   clinical consultant where we can look -- really just
 7   high complexity lab director?                                    7   means evaluating all of the data and being able to give
 8    A. Yes, she is.                                                 8   that information to the physicians or if -- actually, if
 9    Q. And is Joseph Conaghan also board certified as               9   the patient happens to be in the office with the -- with
10   a high complexity lab director?                                 10   the physician, he can call me in to give really more
11    A. Yes, he is.                                                 11   information with the patient with the M.D. present about
12    Q. In order to be a lab director, you need to have             12   embryology question, andrology question, really anything
13   an HCLD typically. Is that a fair statement?                    13   that has to do with the lab.
14    A. That is correct.                                            14    Q. And so when you're a clinical consultant, does
15    Q. In order to get an HCLD, you have to meet                   15   that allow you to interpret lab results?
16   minimum standards for assisted reproductive                     16    A. Well, really you do not need a clinical
17   technologies; is that right?                                    17   consultant to interpret lab results. I have -- I have
18    A. Yes. But before you can take the HCLD, you                  18   just recently -- I haven't had a clinical consultant for
19   have -- you have to perform a number of procedures by           19   that long. So I have been doing this for over 30 years.
20   yourself before you can sit for the HCLD. You have to           20   So I've been interpreting the laboratory results for
21   supervise staff. You have -- you have to do I think --          21   andrology and embryology and really all the laboratories
22   when I took it in '93, I think, '93 -- '90 -- I think it        22   that, you know -- everything that happens in the lab.
23   was '93 we had to show that we had, again, supervised           23   And the clinical consultant is just sort of something
24   staff, that we had performed 20 in vitro fertilization          24   you can add on to your HCLD without taking an additional
25   procedures alone, things like that, to sit for the HCLD.        25   test.


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 1    Q. Do you -- do you recall specifically what it               1    A. Yes.
 2   allows you to do -- excuse me -- what it allows you to         2    Q. And because your labs are CAP accredited,
 3   do that adds to whatever you are able to do as an HCLD?        3   representatives of the states of Texas, North Carolina,
 4        MS. ZEMAN: Objection. Asked and answered.                 4   and Pennsylvania do not come in to inspect your labs;
 5    Q. BY MR. DUFFY: You can answer.                              5   correct?
 6    A. Really, it, again, I have -- I can meet with               6    A. That's correct.
 7   the patients in the presence of the M.D. And, actually,        7    Q. They depend upon CAP to do that; correct?
 8   some of the men I can meet with. I have met some of the        8    A. That is correct.
 9   men that -- in the -- from the andrology lab that have         9    Q. How about the FDA, does the FDA come in and
10   questions about their results. Or they will call, and I       10   inspect your labs?
11   can give them information about their results. And it         11    A. Yes, they do.
12   really doesn't -- to tell you the truth, doesn't add a        12    Q. How often do they do that?
13   whole lot to what I was doing before.                         13    A. They do that every two years also like CAP.
14        But, I mean, there are people that have other            14   They're on a two-year plan.
15   degrees as well on top of their HCLD that doesn't give        15    Q. When the FDA sends an inspector in to conduct
16   them any -- anything else. I mean, there's HCLD means         16   an investigation or an inspection, is that individual an
17   that we can direct andrology and embryology                   17   HCLD?
18   laboratories. But there are some people that have HCLD        18    A. No.
19   and an ELD, which means an embryology laboratory              19    Q. I wanted to ask you just a little bit about
20   director, which an HCLD does the same thing.                  20   your work here in -- forensic-type work here in
21    Q. The ELD designation that you have just                    21   litigation. Have you ever done it before this
22   mentioned, that is another board certification issued by      22   assignment?
23   AAB; is that right?                                           23    A. I don't understand the question.
24    A. That is correct.                                          24    Q. Oh, okay. It was a bad one, Dr. Wininger. I'm
25    Q. And an embryology lab director still has not              25   sorry.


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 1   been recognized by the federal regulations governing           1    A. It's actually Wininger.
 2   IVF. Is that a true statement?                                 2    Q. Wininger. Okay. Thank you very much.
 3    A. Yeah, that is correct.                                     3    A. Okay.
 4    Q. Would you describe for us briefly what CLIA                4    Q. Dr. Wininger, have you ever acted as an expert
 5   means in your practice?                                        5   before?
 6    A. What CLIA means is basically the state                     6    A. No, I haven't.
 7   certification that tells us that we can operate our            7    Q. When were you hired?
 8   business. We do not have a CLIA inspection. It is if           8    A. It was --
 9   -- if you have a CAP certification, CLIA says that you         9        MS. ZEMAN: Objection. I don't see the
10   can -- you do not have to have a separate CLIA                10   relevance.
11   registration or inspection as well. They say that the         11    Q. BY MR. DUFFY: You can -- you can answer.
12   CAP regulations are more stringent than CLIA.                 12    A. It's a few months ago. I don't remember the
13         So CLIA really is the -- sort of the license            13   exact date.
14   that gives us permission to operate our assisted              14    Q. So it's November 30, 2020, today. And you were
15   reproductive business there at the different locations.       15   hired just a few months ago. Does that sound about
16   And but as long as we are CAP accredited, we do not have      16   right?
17   to actually do anything. But they will send the new           17    A. Yes.
18   CLIA certificate every two years.                             18    Q. Who contacted you first?
19    Q. So do state regulators -- well, strike that.              19    A. Mr. Polk.
20   Let me make sure I understand.                                20    Q. How -- strike that.
21         In the five labs where you're a lab director            21        Do you know how they got your name?
22   today, all five of those are CAP certified; correct?          22    A. They got my name from Dr. Somkuti.
23    A. Yes.                                                      23    Q. Let me share with you in the chat feature, Dr.
24    Q. And they're in three states, Texas, North                 24   Wininger, the report that you have done in this case.
25   Carolina, and Pennsylvania; is that right?                    25        And then, Philip, could you mark this as Chart


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 1   Exhibit 222.                                                      1   a designation of 8-31-20. Do you see that?
 2          THE VIDEOGRAPHER: Absolutely.                              2    A. 8-21 or 8-31?
 3          (Defendant's Exhibit 222 marked for                        3    Q. 8-31, Doctor.
 4            identification.)                                         4    A. Okay. Yes. Yes. I see that.
 5    Q. BY MR. DUFFY: Dr. Wininger, when you download                 5    Q. And it's listed here as a deposition of Gina
 6   it on your end, go ahead and open it up, if you would,            6   Cirimele; is that right?
 7   just so you have it available. And just let me know               7    A. Yes, it is.
 8   when you're able to do that.                                      8    Q. Is that a deposition -- does this reflect --
 9          THE VIDEOGRAPHER: Do you want me to share my               9   refresh your recollection that you reviewed that
10   screen and bring it forward or?                                  10   deposition?
11          MR. DUFFY: No. No. That's okay. I think                   11    A. Yes, you're correct. I reviewed so many
12   it's a little easier when witnesses are able to control          12   things. Yes, you're correct.
13   the document. Thank you, though, Philip.                         13    Q. Do you know Joseph Conaghan?
14          THE VIDEOGRAPHER: No worries. I'll shut up                14    A. No, I do not.
15   now.                                                             15    Q. You've never met him?
16          THE WITNESS: Okay. I have it open.                        16    A. No, I have not.
17    Q. BY MR. DUFFY: Okay. You were retained to                     17    Q. Do you know Grace Centola?
18   provide a professional opinion in three areas. Does              18    A. Yes, I do.
19   that sound right?                                                19    Q. How do you know Ms. -- or Dr. Centola?
20    A. Yes.                                                         20    A. She -- I knew her from a lab in Pennsylvania
21    Q. One was whether Tank 4 performed as safely as                21   that I was associated with back in the mid '90s. And
22   an ordinary user of cryogenic vessels would expect;              22   she was also the editor of a -- of the online editor of
23   correct?                                                         23   an online embryology discussion board that most
24    A. That's correct.                                              24   embryologists are -- belong to called Embryomail. I
25    Q. And the second was whether the plaintiffs' eggs              25   knew -- I knew of her from that. And I have run into


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 1   and embryos were damaged by the Tank 4 incident; is that          1   her at a couple of industry events.
 2   right?                                                            2    Q. And what lab in Pennsylvania did you work at
 3    A. Yes.                                                          3   that she was associated with?
 4    Q. And third is whether plaintiffs' eggs and                     4    A. I did not work with her while she was at that
 5   embryos were exposed to dangerous conditions prior to             5   lab. But it was a lab that I was involved with after
 6   the Tank 4 incident; is that right?                               6   she left. It was Bryn Mawr Hospital in Bryn Mawr,
 7    A. Yes. That is correct.                                         7   Pennsylvania.
 8    Q. Do you have any opinions about whether Joseph                 8    Q. And approximately when did you take over the
 9   Conaghan and his lab colleagues complied with the                 9   Bryn Mawr lab?
10   standard of care in this case?                                   10    A. Well, I was asked to design that lab while I
11    A. No, I do not.                                                11   was working at Abington Memorial Hospital. There was an
12    Q. As part of your opinions you read Dr.                        12   M.D. there that was from the Bryn Mawr area that
13   Conaghan's 2019 and 2020 depositions; correct?                   13   actually had to drive to Abington daily. It's about a
14    A. That's correct.                                              14   30- to 45-minute drive. And he did that for several
15    Q. And did you review the exhibits to those                     15   years and decided he wanted to set up a new IVF program
16   depositions as well?                                             16   at Bryn Mawr Hospital, and he asked me to help him
17    A. Yes, I did.                                                  17   design the lab.
18    Q. Did you read the deposition of Gina Cirimele                 18         So I -- so I did design the lab and met with
19   and the exhibits to that deposition?                             19   the architects and everything you have to do as -- when
20    A. I do not -- I do not recall reading that                     20   you're designing an IVF lab. But before he actually
21   deposition.                                                      21   opened, I received a job offer from another lab in
22    Q. All right. Turn to page 28 of your report,                   22   Georgia, Atlanta. So I moved but stayed on as his
23   please, and just let me know when you're there.                  23   off-site lab director for many years until I got too
24    A. Okay. I'm here.                                              24   busy at my laboratory in Atlanta, which was a very, very
25    Q. At the bottom of the page on 28 and you'll see               25   large lab.


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 1         So at that point they brought in Dr. Centola.                   1   because I had held -- that's what I mainly do. I'm an
 2   And I'm not exactly sure how long she was there. But                  2   embryologist laboratory director. So that's -- and I
 3   she ended up leaving the position, and I was asked to                 3   also do andrology as well, but embryology is my -- is my
 4   come back as an off-site lab director for several more                4   main area of expertise.
 5   years until they actually hired them a full-time lab                  5    Q. Do you have an embryology lab director board
 6   director.                                                             6   certification?
 7    Q. How long did you serve in that off-site                           7    A. Yes. The HCLD, I took the embryology part, the
 8   directorship for Bryn Mawr after Dr. Centola left?                    8   andrology part, and the general lab knowledge part.
 9    A. I think it was approximately three or four                        9   There were three different sections. So as I took --
10   years.                                                               10   when I took that, I was certified in both andrology,
11    Q. Just so I understand it, Dr. Wininger, did Dr.                   11   embryology, and general lab knowledge.
12   Centola take over the Bryn Mawr lab after you had                    12    Q. Okay. So just so I understand it, then, when
13   designed it; is that right?                                          13   you get your HCLD board certification you simultaneously
14    A. No. That's incorrect.                                            14   have a board certification for embryology lab director
15    Q. I'm sorry. What -- did she serve at Bryn Mawr                    15   and andrology lab director; is that right?
16   before your time there and after your time there, or did             16    A. At that time that is correct. Now you can take
17   she only serve at Bryn Mawr after your time there?                   17   an HCLD and just pick and you can say I'm going to get
18    A. Well, after I designed the lab and moved to                      18   an HCLD in just andrology or just embryology. So they
19   Atlanta, I was asked to be the off-site lab director.                19   can do the embryology part, they can direct embryology
20   And I stayed -- I was their off-site lab director for                20   lab or an andrology lab, but not both. So I know a lot
21   approximately five or six years.                                     21   of, you know -- several people do that. That they're
22         And at that time -- at which time, again, I got                22   not comfortable taking it all at one -- at one sitting
23   too busy in Atlanta at the large IVF center. So I had                23   studying the whole part for all three parts.
24   to tell the physicians I had to stop being their                     24    Q. Okay. And you indicated that you were familiar
25   off-site lab director.                                               25   with Dr. Centola for her work in an organization that I


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 1    Q. And is that when they hired Dr. Centola?                          1   think you described as Embryomail; is that right?
 2    A. Yes.                                                              2    A. That's correct.
 3    Q. And how long did she serve as the off-site lab                    3    Q. And can you tell us a little more about what
 4   director at Bryn Mawr?                                                4   that is or was?
 5    A. I'm not sure how long she was there.                              5    A. Well, it's still very -- it's still present.
 6    Q. But would it be fair to say that she was the                      6   It's a discussion group where you can post, ask
 7   off-site lab director at Bryn Mawr in the lab that you                7   questions to other embryologists, andrologists; you can
 8   helped design?                                                        8   put position notices on there if you're looking for an
 9    A. That's correct.                                                   9   embryologist or an andrologist, a lab director, those
10    Q. And --                                                           10   sorts of things. So that's -- it seems like that is
11    A. I'm not sure, again, as -- I'm still not sure                    11   what mainly is happening with Embryomail now. It's more
12   for how long she was there.                                          12   of a place to put in your request for new employees.
13    Q. When you came back to be the off-site lab                        13    Q. Okay.
14   director at Bryn Mawr, did you have any criticisms of                14    A. And it is still -- it is still very active. We
15   Dr. Centola as a lab director for her time at Bryn Mawr?             15   probably get it three times a week.
16    A. I personally did not.                                            16    Q. And what was Dr. Centola's role in Embryomail?
17    Q. Did somebody else other than yourself?                           17         MS. ZEMAN: Objection. What is the relevance
18    A. Well, it was -- I was told that she was mainly                   18   of this to Dr. Wininger's report?
19   involved in the andrology and endocrine part but did not             19         MR. DUFFY: He has interactions with my expert.
20   really work in the embryology lab as much as they would              20   I want to find out about them.
21   have liked. That I think her expertise was on the                    21         MS. ZEMAN: Did he rely on those interactions
22   andrology side, and I think she did a good job there.                22   for his report?
23         But it didn't seem that the embryology in vitro                23         MR. DUFFY: I don't know. We can find out.
24   fertilization lab was what she was expert in. So I                   24         MS. ZEMAN: Well, why don't you ask him that,
25   think that's when I -- they asked me to come back                    25   and then we can continue those questions. But as we've


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 1   mentioned many times, there's a stipulation in this case        1         MR. DUFFY: Sure.
 2   governing discovery of experts. And I'm not seeing how          2         THE VIDEOGRAPHER: I think -- remember this
 3   this line of question has anything to do with what he           3   morning when your thing was --
 4   relied on for his report or his report itself.                  4         THE WITNESS: Yeah.
 5         MR. DUFFY: I don't think in this deposition               5         THE VIDEOGRAPHER: If you could fix it again.
 6   relevance is a valid objection, Amy.                            6   It's making that, like, ruffling of paper sound.
 7         MS. ZEMAN: Well, as I just said, it seems to              7         THE WITNESS: Okay. Is that any better?
 8   be beyond the scope of the stipulation that governs what        8         MR. DUFFY: Why don't we do a little test. Why
 9   discovery can be pursued with our experts.                      9   don't you go ahead and start. Just count to ten, Dr.
10         MR. DUFFY: In what way? I'm sorry. We can go             10   Wininger.
11   off the record, if you'd like to discuss it. I'd be            11         THE WITNESS: One, two, three, four, five. Is
12   happy to do that.                                              12   that okay?
13         MS. ZEMAN: Sure. We can go off the record for            13         THE VIDEOGRAPHER: That sounds better to me.
14   a moment.                                                      14         THE WITNESS: Okay.
15         THE VIDEOGRAPHER: We are now going off the               15         THE VIDEOGRAPHER: Cherree, are you okay?
16   record at 8:58 a.m. Pacific Standard Time.                     16         THE REPORTER: Yeah, that's good.
17         (Whereupon a break was taken from 8:58 to                17         THE VIDEOGRAPHER: Okay. Sorry for all the
18          9:13.)                                                  18   unnecessary commentary.
19         THE VIDEOGRAPHER: We are now going back on               19    Q. BY MR. DUFFY: Is Dr. Centola a qualified lab
20   record. The time is 9:13 a.m. Pacific Standard Time.           20   director?
21         MR. DUFFY: Cherree, would you please read back           21    A. She has her HCLD. So yes, she is.
22   the last question and answer just so I can reorient            22    Q. One of the opinions that you hold in this case
23   myself.                                                        23   is that Tank 4 failed to perform as safely as an
24         THE REPORTER: There's actually a question                24   ordinary user would expect; is that correct?
25   pending.                                                       25    A. Yes.


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 1         (Whereupon the record was read as requested.)            1    Q.
 2         MR. DUFFY: You can go ahead and answer that
 3   question, please, Doctor.
 4         THE WITNESS: I really don't know what the
 5   editor's role is there. I subscribe to Embryomail. And          5    Q. Over how long a period of time?
 6   I read it, you know, every time it comes in my inbox.           6         MS. ZEMAN: Objection. This is beyond the
 7   But you really don't -- you really don't see a lot of           7   scope of his expert testimony.
 8   information from any of the people behind the scenes.           8         MR. DUFFY: I think it's part of it. It says
 9   So I'm really not sure what the role of editor is at            9   "sudden." I'm asking for the time frame.
10   Embryomail.                                                    10    Q. You can answer.
11    Q. BY MR. DUFFY: Okay. But that was Dr.                       11         MS. ZEMAN: Where -- again, no. Dr. Wininger
12   Centola's role as an editor of Embryomail for a period         12   is an embryologist. He is not an engineer put forth to
13   of time?                                                       13   opine on the mechanical failure of the tank.
14    A. Yes. I'm not sure how long, but I know she was             14         MR. DUFFY: Well, he has an opinion that users
15   there for a period of time.                                    15   do not expect sudden vacuum seal failure. It's at page
16    Q. And you personally met Dr. Centola before; is              16   14 and 15 of his report. So I'm just asking him now
17   that right?                                                    17   what he meant by that.
18    A. Yes. We have met at industry events.                       18    Q. Dr. Wininger, when you came to the conclusion
19    Q. Would that be the ASRM conferences?                        19   that a user does not expect a sudden vacuum seal
20    A. Yes. Yes. The -- those conferences. There's                20   failure, how long a period of time are you concluding
21   a AAB conference that occurs annually as well. I mean,         21   that there was a sudden vacuum seal failure?
22   it used to. Now everything is virtual; so I haven't            22    A.
23   seen anybody in forever. But yeah, it -- I've seen Dr.
24   Centola at different events like that.                                                                        .
25         THE VIDEOGRAPHER: May I interrupt for one sec?           25   Q. And do you -- sorry.


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 1    A. 2018.                                                            1   in Tank 4 on Saturday, March 3?
 2    Q. Do you know how many hours it took for the                       2    A. It seems that it was around 7:00 p.m.
 3   vacuum seal to be lost?                                              3    Q. Okay. And then you read Dr. Conaghan's
 4    A. No, I do not.                                                    4   testimony about when he discovered the incident with the
 5    Q. To prepare for your deposition today, what did                   5   vacuum seal; is that right?
 6   you do?                                                              6    A. That's correct.
 7    A. I reviewed my report several times. I spoke                      7    Q. And would it be fair to say that your memory is
 8   with my counsel, Amy and Geoff. I looked at Dr.                      8   that Dr. Conaghan testified he discovered the incident
 9   Jewell's report.                                                     9   about 12:30 p.m. on Sunday, March 4?
10    Q. Did you review the report of a Chart expert                     10    A. Yes. I do remember it was sometime around
11   named Franklin Miller?                                              11   noon, that time frame.
12    A. For preparation for the deposition?                             12    Q. And as part of your opinions in this case you
13    Q. I guess at any time.                                            13   accepted as accurate the measurement of 14 inches of
14    A. Yeah, I recall reading parts of -- parts of                     14   liquid nitrogen on Saturday, March 3 as measured by Jean
15   that.                                                               15   Popwell. Is that a fair statement?
16    Q. Your report was issued to us on November 6th of                 16    A. Yes.
17   2020.                                                               17    Q. If it's proven that she did not measure liquid
18    A. Right.                                                          18   nitrogen at all on Saturday, March 3, 2018, would that
19    Q. Approximately when did you review Dr. Franklin                  19   alter your opinions?
20   Miller's report?                                                    20    A. No, it wouldn't.
21    A. I really can't remember. I reviewed so many                     21    Q. Why?
22   different reports and exhibits. And I just -- I                     22    A. Well, she did a fill. She did a -- the one --
23   actually can't remember specific dates when I reviewed              23   it was an auto fill. She pushed the button and filled
24   different aspects of the -- of the reports.                         24   the -- filled the tank and to cover up the canes, the
25    Q. When you reviewed Dr. Miller's report, did you                  25   boxes down below -- that were stored in the bottom of


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 1   review the portion about the testing that he conducted               1   the tank. But I do not have any reason to believe that
 2   of an exemplar MVE 808?                                              2   she did not measure the tank after she filled that
 3    A. I don't -- I don't remember reading that part.                   3   evening.
 4         MS. ZEMAN: If I could interject for a moment,                  4    Q. Is it your testimony that because Ms. Popwell
 5   I -- John, I think he may be confusing Mr. Miller's                  5   initiated a fill cycle on Tank 4 on Saturday, March 3,
 6   report with Mr. Cauthen's report.                                    6   if she failed to measure it manually with a dipstick it
 7         THE WITNESS: That is correct. I did read -- I                  7   wouldn't affect your opinions? Do I understand that
 8   did read a Cauthen's report.                                         8   correctly?
 9    Q. BY MR. DUFFY: Okay. And that's the retired                       9    A. That's correct.
10   FBI agent; is that right?                                           10    Q. You did not review the data download for Tank
11    A. That's correct.                                                 11   4's controller as part of your opinions; correct?
12    Q. Did you review the report of Franklin Miller?                   12    A. Would you repeat that question?
13   He's a professor of engineering at the University of                13    Q. Sure. You did not review the Tank 4 controller
14   Wisconsin.                                                          14   data download as part of your work in this case;
15    A. No, I don't think I did. I think I got those                    15   correct?
16   confused.                                                           16    A. That is correct.
17    Q. You're not aware of any testing on an                           17    Q. Technical break here for just one second, if we
18   evaporation rate on an exemplar freezer that was                    18   could. Dr. Wininger, the microphone is rubbing again up
19   conducted by Professor Miller?                                      19   against your shirt.
20    A. No, I am not.                                                   20    A. Let me take -- let me just take this jacket
21    Q. You reviewed the deposition of Jean Popwell; is                 21   off. Maybe it's rubbing on my jacket.
22   that right?                                                         22    Q. Okay.
23    A. Yes, I did.                                                     23    A. Is that any better?
24    Q. And did you conclude approximately when she                     24    Q. Yes.
25   claims to have manually measured liquid nitrogen levels             25         MS. ZEMAN: Do you want to do a count for us


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 1   maybe?                                                            1   the value. So that's what we do.
 2         MR. DUFFY: Sorry, Amy?                                      2    Q. All five of your labs have a policy of manual
 3         MS. ZEMAN: Do you want to do a count for us                 3   measurement three times a week; is that right?
 4   just one more time?                                               4    A. That's correct. And manual measurement three
 5         MR. DUFFY: See how it works.                                5   times a week and then of course visual, visual --
 6         THE WITNESS: One, two, three, four, five.                   6   looking at the nitrogen levels as well as we're going in
 7         MR. DUFFY: Sounds good.                                     7   and out of the tanks which we do many times during the
 8         THE VIDEOGRAPHER: Sounds good on my end.                    8   -- during the week. So we actually see the nitrogen
 9         MR. DUFFY: Okay. Good. Thank you.                           9   there at the top of the tank. So these sorts of tanks
10         MS. ZEMAN: I also notice I think sometimes                 10   fill -- are filled to the very top, and they are
11   you're moving around in the chair swinging a little.             11   measured manually three times a week.
12   And it almost seemed like that was making it scratch as          12    Q. Are the measurements recorded somewhere?
13   well. So maybe avoid that.                                       13    A. Yes. We do paper. We have paper charts that
14         THE WITNESS: Okay. I'll sit still.                         14   we record those on that we keep, you know, close to the
15         MS. ZEMAN: No fidgeting allowed in this.                   15   tanks. And then we scan them -- scan all that into our
16         MR. DUFFY: Like we're all back in grade                    16   -- into a computer so that we'll have -- you know,
17   school. All right. Okay. Let's go back, you guys.                17   instead of keeping binders and binders and binders of
18   All right.                                                       18   these records, we can scan them into our computer.
19    Q. How long would an end user like yourself or Ms.              19    Q. And for the five labs that you are currently
20   Popwell expect a fill cycle to take place on an MVE 808?         20   directing, were you doing manual measurements three days
21    A. Well, I personally have never used a controller              21   a week before the incident at PFC?
22   on a large tank like that. We use small tanks at our             22    A. Well, one of the -- one of the labs is not an
23   labs. But I would -- I would think it could take up to           23   IVF lab. One of them is a drug testing lab. So there
24   an hour to fill it depending on what the level was to            24   are four labs that we have tanks. One of them only has
25   begin with. And if other tanks were being filled at the          25   frozen sperm -- the lab in Hermitage.


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 1   same time and -- I would think that would affect the              1         But yeah, the -- there was a new directive from
 2   amount of nitrogen that would go through the piping to            2   CAP saying to do more manual measurements. We had
 3   Tank 4. So -- but I personally do not have any                    3   always done manual measurements in my home lab in
 4   experience with that sort of tank.                                4   Atlantic Fertility. So but now CAP says you have to do
 5    Q. Okay. That leads me to a couple of questions I                5   manual measurements in addition to having any types of
 6   should probably ask you, then, about the labs that you            6   remote monitoring.
 7   worked in. In your time as a lab director have you ever           7    Q. Right. And I guess my question was just to
 8   worked in a lab where you used a computer-controlled              8   that time period before the incident at PFC in March of
 9   cryogenic storage tank?                                           9   2018, in the four labs that you are the director where
10    A. No, I have -- I have not.                                    10   you use cryogenic storage vessels did you have a policy
11    Q. Are the storage vessels that you use in all of               11   of manual measurement?
12   your labs manual dewars with lids on them?                       12    A. Yes. We have always done manual measurements
13    A. The majority are. There are a couple of the                  13   at all of our facilities when -- just to have that
14   large steel tanks in Pittsburgh, but they do not use the         14   information showing if the tanks are low, getting low.
15   auto controllers. They do not use a controller                   15   It will show more usage whether they're drop -- the
16   function. They do everything manually with that. And             16   levels are dropping more than they should. But we do
17   so they don't -- so we do not -- still do not have any           17   have the alarms on them.
18   experience using the computer-controlled fill function.          18         But the number of manual measurements has
19    Q. And in the five labs that you currently direct,              19   increased after all -- you know, all the incidents that
20   do you have a policy for manual measurements of the              20   have occurred in the last, you know, three or four
21   cryogenic storage vessels?                                       21   years.
22    A. Yes. We have to -- College of American                       22    Q. So before the PFC and the University Hospitals
23   Pathologists says if you -- no matter if you have any            23   incidents in March of 2018, how often per week were you
24   types of alarms on your tank, you still have to do               24   having your personnel manually measure liquid nitrogen
25   manual monitoring at least three times a week and record         25   levels in the cryogenic storage vessels?


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 1    A. We were doing it one time a week.                          1   alarm device?
 2    Q. And was that once every seven days?                        2    A. I think that was, like, around 19 -- between
 3    A. During -- yeah, during the workweek, yes.                  3   1995 and 2000. I don't know for sure, but it was
 4   Yeah, it would be -- it would be -- so it would be every       4   somewhere in that time frame.
 5   seven days because we work seven days a week.                  5    Q. Okay. And when the technology developed at
 6    Q. Prior to the incident at Pacific Fertility in              6   that point where probes could be put in a cryogenic
 7   March of 2018, were all of the cryogenic storage vessels       7   storage tank and then directly connect it to a
 8   in the labs that you directed connected to an alarm            8   Sensaphone or remote alarming device, did you move to
 9   system?                                                        9   that technology for all of your labs?
10    A. Yes.                                                      10    A. Well, I didn't have a whole lot of labs at that
11    Q. Why did you do that prior to the PFC incident?            11   time. So -- but as I did -- started doing more on-site
12    A. Well, the PFC incident really didn't have                 12   directing, most of them already had remote alarms
13   anything to do with how we were doing remote monitoring.      13   already set up. So I was involved in helping to
14   We've done -- we have -- I've done remote monitoring for      14   purchase some new alarms and helping start set up probes
15   at least 20 years that having monitor -- you know,            15   on new tanks as new tanks were purchased and things like
16   having probes in the -- in the tanks hooked to something      16   that. But the Pittsburgh labs and the Austin lab, they
17   like a Sensaphone. So we have an auto dialer, or we           17   already had alarms and Sensaphone measurement when I
18   have different types of alarms just manual -- you know,       18   started with them.
19   little alarms sticking down in the -- in the tanks that       19    Q. When you were the lab director at Abington
20   made a really, really loud noise that would trip the          20   Memorial from '93 to 1998, were the cryogenic storage
21   Sensaphone.                                                   21   vessels there connected directly to a Sensaphone or
22         So because you can have a Sensaphone that can           22   other remote alarm device?
23   pick up changes in am -- you know, the ambient noise.         23    A. No, they weren't.
24   So even things like that will set off the Sensaphone.         24    Q. When you moved to become the director of
25   Set it off. So back in, you know, when I first started,       25   laboratories at the Reproductive Biology Associates in


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 1   we would use things like that. And the alarms have             1   Atlanta, Georgia, from 1998 to 2003, were the cryogenic
 2   gotten better and better over the years.                       2   storage vessels there directly connected to a Sensaphone
 3    Q. So when -- what was the year that you started              3   device?
 4   being a lab director? I know it's in your CV, but I            4    A. When I first took over they were not. But they
 5   don't have it before me.                                       5   weren't -- they did not have CAP accreditation when I
 6    A. 1990.                                                      6   took over. So as I was there, I got -- I did get them
 7    Q. 1990. Okay. So when you started as a lab                   7   CAP accredited, and we did start doing -- we did not
 8   director in 1990, were all the cryogenic storage vessels       8   have the remote alarms. We did add the -- just the
 9   in your labs connected to a Sensaphone or other remote         9   sound alarms that I was telling you about and had those
10   alarm device?                                                 10   hooked up.
11    A. Yes. Those were just by sound though. There               11    Q. At the Premier Fertility Center in High Point,
12   weren't wires or anything like that that went to the          12   North Carolina, where you served as the lab director
13   Sensaphone. It was -- that was the ones that had --           13   from 2007 to 2016, did they have remote alarms
14   just made a loud noise that -- so any loud noise that         14   monitoring the cryogenic vessels?
15   occurred in the lab from anything, it could be any of         15    A. We did not have -- we did not have probes in
16   the -- we only had one tank at that time because              16   those tanks either. We had -- I think we had one tank
17   cryopreservation was fairly -- you know, fairly new in        17   that we kept embryos in.
18   1990. So the more we did, the more monitoring we would        18    Q. How many tanks did you have at Premier facility
19   have to do because of -- you'd move -- I moved to larger      19   Center -- Fertility Center? Excuse me.
20   and larger facilities, then you'd have more tanks and         20    A. Yeah. We had one tank for sperm that was kept
21   then you'd need more monitoring.                              21   in the andrology lab, and we had one tank for embryos
22    Q. The -- I'll strike that.                                  22   and oocytes that was kept in the embryology lab. And,
23        Approximately when did the technology advance            23   again, I had that hooked up to another one of the
24   such that you could put a probe in a cryogenic storage        24   sound-type alarms because I did have Sensaphones in the
25   tank and connect it to a Sensaphone or other remote           25   lab that I had my incubators hooked to. And any sound


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 1   -- again, any sound that came from that tank or                     1   1998 to 2003, did you have probes in the cryogenic
 2   anything, really, in the lab would set off the -- set               2   storage vessels in that lab that had alarming
 3   off an alarm and I'd get a call. And other people in                3   capability?
 4   the lab would get a call, too, but I was always first.              4    A. Yes. That's -- we talked about that a few
 5    Q. At some point in the nine years where you --                    5   minutes ago. Yeah, we had the same sort of setup
 6   where you were the director of laboratories at Premier              6   with -- after I got them CAP accredited, we started
 7   Fertility, did you move to a probe device that was                  7   having the alarm stuck down in the neck of the -- of
 8   directly connected to a Sensaphone or other remote alarm            8   those -- of the dewars to make the sound similar to what
 9   device?                                                             9   I was talking about at Premier Fertility.
10    A. No, I did not.                                                 10    Q. Okay. In 2015 you moved to Atlantic
11    Q. You always had the system where the Sensaphone                 11   Reproductive Medicine as a lab director; is that right?
12   would listen for an audible alarm coming from a freezer            12    A. Yes.
13   and then send the page or call?                                    13    Q. And were the dewars that you used in that lab
14    A. Right. Yes.                                                    14   equipped with probes as well?
15    Q. And what type of alarms were used in the                       15    A. At that time they were not. But within six
16   Premier Fertility Center for the dewars that you had?              16   months of being there, they had -- they had a Sensaphone
17    A. That's what I was talking about.                               17   on the wall in the embryology lab. But I add a new
18    Q. Okay. Maybe I just didn't understand.                          18   Sensaphone and a new -- probes in all the tanks and a
19    A. Yeah. It was -- it was the sound-type alarm.                   19   unit called a Cryo-Save on the wall. So that monitored
20   It made the loud noise that changed the total, like,               20   all of our tanks. So we had six tanks there. So I set
21   normal ambient sound level in a lab which was normally             21   that up as soon as I took over. And that's what we
22   very quiet. And if it goes -- if that thing went off               22   currently have there and same thing we have in
23   like a siren, it would set off the Sensaphone and I                23   Pittsburgh.
24   would get a call.                                                  24    Q. Are the probes in Atlantic Reproductive
25    Q. So at Premier Fertility Center the two tanks                   25   Medicine's lab from approximately 2013 to 2017, were


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 1   that you had there had probes inside with audible                   1   they directly connected to the Sensaphone or did they
 2   alarms. Fair?                                                       2   just have the audible alarm feature that would be heard
 3    A. Right.                                                          3   by the Sensaphone?
 4    Q. And then what conditions would set off an                       4    A. At that time they had the audible. Just the
 5   audible alarm from the cryogenic storage vessels at                 5   audible. But when I took over, I added the probes that
 6   Premier Fertility?                                                  6   were actually monitored and hooked to the Cryo-Save unit
 7    A. Sound.                                                          7   and the Sensaphone. So it was a different -- you know,
 8    Q. Oh, I'm sorry. What condition inside the                        8   different type of monitoring.
 9   cryogenic storage vessel would cause an alarm?                      9    Q. Let me make sure I understand how you made the
10    A. If the nitrogen fell to a level below the                      10   changes there. So when you were at Atlantic
11   probe.                                                             11   Reproductive Medicine, when you arrived they had a
12    Q. And where was the probe set at?                                12   Sensaphone but no probes in the dewars?
13    A. It was down -- it was in the nitrogen down                     13    A. They had -- when I got there they had about
14   about 4 inches into the nitrogen level.                            14   three tanks. And they had -- they had -- they had
15    Q. So if the liquid nitrogen level fell below that                15   audible alarms in those tanks. But -- and they did have
16   4-inch level, it would cause an audible alarm from the             16   the Sensaphone on the wall.
17   probe?                                                             17    Q. Okay.
18    A. Correct.                                                       18    A. But when I got there I was -- I just said I
19    Q. And that audible alarm would then be picked up                 19   think we need to -- we're getting more tanks with the
20   by the Sensaphone and would call and text you; is that             20   increase of vitrification that we're doing, genetic
21   right?                                                             21   testing, oocyte cryopreservation, vitrification, I
22    A. Right. Right. It never -- it never happened                    22   wanted to update the alarm system. So we did order the
23   the ten years that I was there, but we did have it set             23   probes, the Cryo-Save unit, and hooked that all to the
24   up.                                                                24   Sensaphone.
25    Q. And when you were in Atlanta for the period                    25    Q. Okay. And then when you bought the probes for


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 1   Atlantic Reproductive Medicine in that period between           1   Saturday, March 3; correct?
 2   2015 and 2017, were they connected by a wire to the             2    A. Yes.
 3   Sensaphone?                                                     3    Q. And you have no personal experience with an MVE
 4    A. Yes. They were -- they were hooked to a wire                4   808 cryogenic storage tank with a controller; correct?
 5   to a unit called a Cryo-Save which is sort of a -- it's         5    A. That's correct.
 6   just another box that's hooked -- it's on the wall that         6    Q. So would it be fair to say you don't have any
 7   you hook all those probes to so -- because you can't            7   personal knowledge of how long it takes to fill an MVE
 8   hook all those probes up to the Sensaphone. You would           8   808 using a TEC 3000 controller?
 9   hook one wire to the Sensaphone.                                9    A. That's correct.
10         So the Cryo-Save is sort of a -- sort of a               10    Q. And would it also be true that you don't
11   middleman in the chain for the Sensaphone. So you hook         11   personally know what would be considered an excessively
12   all these cables up to the Cryo-Save, and then you have        12   long fill time for an MVE 808 using a TEC 3000
13   a -- one wire that goes from the Cryo-Save to the              13   controller?
14   Sensaphone. So any alarm for any of those tanks that           14    A. That's correct.
15   occurs, that would go to the Cryo-Save. That would --          15    Q. And you have no personal experience with an MVE
16   the Cryo-Save would have an audible alarm trip up going        16   808 with a TEC 3000 controller running out of liquid
17   from open to a closed position on a transistor in there,       17   nitrogen; correct?
18   and then that would go to the Sensaphone and                   18    A. That's correct.
19   automatically start dialing.                                   19    Q. In the labs that you've directed over the years
20         So if you can't -- the probe -- the probe wires          20   -- well, strike that.
21   are very large. I mean, they look like big -- the old          21        As part of your work in this case did you
22   phone cords all coiled and things like that. So you            22   review a video of an inspection of the Pacific Fertility
23   can't hook something like that to a Sensaphone.                23   lab?
24    Q. Okay. Let me just ask you. When you became                 24    A. No, I did not.
25   the lab director at Carolina Specialty Care, did they          25    Q. Through some of the deposition testimony have


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 1   have probes connected to a Sensaphone?                          1   you come to learn how it was that they connected supply
 2    A. Again, they do not do -- they are a drug                    2   tanks to the Tank 4 at issue in this case?
 3   testing laboratory.                                             3    A. Yes.
 4    Q. All right. Thank you. I'm sorry. When you                   4    Q. And there were supply tanks in one room; is
 5   joined the Magee Women's Hospital and the University of         5   that right?
 6   Pittsburgh Physician labs in November of 2017, did they         6    A. Yes. Supply tanks were in the room adjacent to
 7   have probes that were directly connected to the                 7   where the tank -- where the actual embryos are stored in
 8   Cryo-Save and then to the Sensaphone?                           8   the tanks.
 9    A. Yes.                                                        9    Q. They were connected to Tank 4 by a plumbing
10    Q. And at Westlake in Austin, Texas, when you took            10   system that went up into the ceiling and over into the
11   over as lab director in February of 2018, were the             11   IVF lab?
12   cryogenic storage vessels connected to a Cryo-Save and         12    A. I do not -- I do not know how the pipes ran.
13   then connected to the Sensaphone?                              13    Q. Okay.
14    A. Yes.                                                       14    A. I just -- I do know that they were hooked to
15    Q. Okay. I want to take you back now to the                   15   the liquid nitrogen source.
16   opinion that you have in your report about users not           16    Q. And that was through piping between the two
17   expecting to lose 14 inches of LN2 in less than 24             17   rooms; correct?
18   hours. Is that an opinion that you hold?                       18    A. Yes.
19    A. Yes.                                                       19    Q. In any of the labs that you've ever directed,
20    Q. And that would be based on the 14-inch                     20   have you had that system?
21   measurement that Jean Popwell made on Saturday, March 3;       21    A. No.
22   correct?                                                       22    Q. In your labs the only way you would go about
23    A. Yes.                                                       23   filling liquid nitrogen is doing it manually; is that
24    Q. It would also be based on the fact that you                24   correct?
25   believe she filled Tank 4 with liquid nitrogen on              25    A. Yes.


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 1    Q. Please describe that process.                              1   liquid nitrogen levels in the dewars on the same days
 2    A. We have a tank room where we have our gases for            2   that you would fill them?
 3   the incubators and we have the liquid nitrogen dewars          3    A. Not -- it wouldn't have to be. It could be we
 4   there. And there's a large steel hose hooked to the            4   would just measure them. If we did one -- you know,
 5   large nitrogen dewar. The hose goes through a wall into        5   three or four years ago if we did once a week, we would
 6   a -- an area where we would be -- we would roll the            6   measure them in the morning and then sometimes it may be
 7   tanks to that. It's a couple -- a couple rooms down.           7   the same day that we measured them. Sometimes it
 8   These small tanks have rollers on them. We can roll            8   wouldn't be. It just --
 9   them over there and fill them --                               9    Q. And --
10    Q. Let me clarify one thing before you finish your           10    A. It just -- it didn't -- it didn't really
11   answer. When you say move the tanks, sometimes we refer       11   matter. We just wanted to get the measurement. Now we
12   to the supply tanks as tanks and then dewars as being a       12   measure them Monday, Wednesday, and Friday. And then we
13   different thing. So when you say you're rolling               13   fill them usually midweek.
14   something over to this area where the fill pipe is, is        14    Q. Okay. But back to the time before the incident
15   that the cryogenic dewar?                                     15   in this case in March of 2018, it would be normal for
16    A. The dewars, correct. The dewar -- the small               16   your lab to fill on one day and probably not measure
17   dewars are all on rollers, and we can roll the dewar          17   until several days later? Is that a fair statement?
18   over to the area where the pipe -- where the hose comes       18    A. It could have been a couple days earlier, a
19   through the wall. And we fill the tanks manually at           19   couple days later. There wasn't really -- they -- the
20   that point. So we fill all the tanks. And we also have        20   measurement was more than likely the middle of the week.
21   two empty tanks that we keep filled.                          21   It was probably on Wednesday. And I think most of the
22         And so we'd fill everything, and I'd roll them          22   time they did filling on Fridays.
23   back over and hook them back up to the alarm system.          23    Q. Okay. And then by taking those measurements,
24    Q. Prior to the incident at PFC in March of 2018,            24   what would you do with the liquid nitrogen measurement
25   when would you do the manual measurements on a weekly         25   data prior to March of 2018?


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 1   basis?                                                         1    A. We would basically do the same thing we're
 2    A. We would do them in the morning with -- when we            2   doing now. We would fill them, put it on the piece of
 3   did the rest of our QC.                                        3   paper that we have. We actually have it near -- there's
 4    Q. And how often would you fill the cryogenic                 4   a refrigerator near our tanks that we have those forms
 5   dewars on a weekly basis?                                      5   on there that we go through, fill them out.
 6    A. We'd fill them one time.                                   6         At that time we were not scanning them. So we
 7    Q. And is that -- would you manually measure the              7   do have notebooks full of that -- full of that data.
 8   level of liquid nitrogen before you added more liquid          8   But when we did upgrade our computer system and our
 9   nitrogen?                                                      9   drives, we can scan them now so we did not have to keep
10    A. No, we would not.                                         10   the paper copies. But we've always recorded them on
11    Q. Would you fill the dewar with liquid nitrogen             11   paper copies.
12   and then manually measure them?                               12    Q. And then would you ever use that LN2
13    A. No.                                                       13   measurement data to calculate LN2 consumption of each
14    Q. Would manual measurements be done at a time               14   individual dewar?
15   different than the filling?                                   15    A. We really did not because we would fill them --
16    A. Yeah, again, we would take the measurement in             16   fill them to the top which is -- you know, these dewars
17   the mornings when we did the rest of our QC, QA               17   are way different than the stainless steel ones.
18   measurements on everything. And most of the time the          18   They're much smaller. And you fill them all the way to
19   tank filling would be in the -- would be, you know,           19   the -- really to the Styrofoam plug. So -- and the
20   after lunch sometime.                                         20   probe goes down through the Styrofoam plug into the
21    Q. I see. But just to make sure I understand the             21   liquid nitrogen. So we would know if there was an issue
22   frequency of measurement in your labs, you would              22   with a tank starting to go bad. We've never had one
23   manually measure only once a week; is that right?             23   that has gone bad by the different characteristics of a
24    A. Prior to the new CAP guidelines.                          24   tank. So we do not -- we have not calculated the usage.
25    Q. Right. And would you measure manually the                 25    Q. Do you use MVE dewars in your labs?


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 1    A. Yes, we do.                                                  1    Q. And let me be just a little more precise. I
 2    Q. Do you use any other company's dewars in your                2   know you're an off-site lab director. Have any of the
 3   labs?                                                            3   labs that you've ever directed experienced a vacuum seal
 4    A. I don't think so. I think that they are -- the               4   failure in a cryogenic dewar?
 5   small tanks are all MVE.                                         5    A. They have not as I -- when I have been their
 6    Q. When you're filling the dewars in your labs,                 6   lab director, there has not been any events where there
 7   you're filling them all the way up to the top of the             7   was a tank failure. And there was not -- there was no
 8   neck where the lid is, is that a fair statement?                 8   conversation about a prior tank failure as we were
 9    A. Well, you got -- you have about a 8-inch                     9   talking about tanks. So I would have -- I would have
10   Styrofoam --                                                    10   thought, you know, if it would have happened, say, five
11    Q. Right.                                                      11   years earlier before I took over, they would -- you
12    A. -- piece underneath the lid. It would be                    12   know, they would have said something about it. But I've
13   filled up to that -- to the Styrofoam.                          13   never heard any tank failures at any of the labs I've
14    Q. And then how much distance would there be                   14   been associated with.
15   between the top of the samples in your MVE dewars and           15    Q. And how long do you keep MVE dewars before you
16   the top level of liquid nitrogen when you fill it?              16   replace them with new equipment?
17    A. Well, I don't know if you're just talking about             17    A. We have not replaced any at Atlantic Fertility.
18   the canes themselves. The samples are down in the very,         18   I mean, those aren't -- I think they started business
19   very bottom of the cane. And the oocyte or embryo is at         19   around 2013. So probably their oldest tanks are seven
20   the very, very bottom of the devices. We put the --             20   years old. I'd say the Pennsylvania lab probably has
21   into the -- into the bottom goblet on that cane. So the         21   some older tanks than -- much older tanks than that.
22   top of the cane is covered with, I'd say, 6 inches -- 6         22   They have been in operation longer than that.
23   to 8 inches of liquid nitrogen. So that's at the very           23        But until a tank shows that it's losing vacuum,
24   top of the cane. So all of the biological materials are         24   there is really no reason to replace them. We have them
25   at the very, very bottom of the dewar. Because that's           25   monitored. They're not showing signs of cooling, cool


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 1   how we load them.                                                1   to the touch or frost on the tanks or anything like that
 2    Q. And so the samples in the dewars, the MVE                    2   that we look for. So as long as we do not see things
 3   dewars that you have, are located even further from the          3   like that, we do not replace them.
 4   top of the cane; is that right?                                  4    Q. In your work as a lab director, have you
 5    A. Yes. Yeah. They're probably, again, maybe 6,                 5   employed a policy of transferring samples every five
 6   7, 8 inches from the top of the cane to the top of the           6   years to a backup tank and then drying out one of your
 7   liquid nitrogen level.                                           7   dewars?
 8    Q. So there might be -- sorry. Go ahead.                        8    A. No. We do not do that.
 9    A. Oh, yeah, there's, like, six metal canisters in              9    Q. Prior to the incident in March of 2018 were you
10   there. You could put -- you can put about, you know,            10   aware of the signs and symptoms of a cryogenic dewar
11   15, 20 canes in a canister. And then you would -- you'd         11   that's losing vacuum seal?
12   know which canister you need to go into. So you would           12    A. Yes, I was.
13   pull those up. And, again, the canes have two plastic           13    Q. And what was your knowledge about the signs and
14   goblets on them, and the bottom goblet has the embryos          14   symptoms of a vacuum seal loss prior to March of 2018?
15   on them or eggs.                                                15    A. Well, as I mentioned a minute ago, the tank
16    Q. Would you estimate, then, the distance between              16   would get cool to the touch as the vacuum starts -- or
17   the actual samples in your MVE dewars and the top of the        17   the tank starts losing the vacuum in between the two
18   liquid nitrogen level after you fill? Is that about 14          18   walls that keep -- kind of serves as an insulation for
19   inches or so?                                                   19   the tank. And if that vacuum starts breaking down, you
20    A. Yeah, 14 to 16 inches. You know, they're the                20   start feeling the cold on the tank because you start
21   very bottom -- very bottom of the tank.                         21   feeling some of the -- you know, some of the cold of the
22    Q. As part of your answers to one of my questions              22   liquid nitrogen.
23   I thought I heard you say that you've never had a               23         And as it gets worse you start seeing frost,
24   cryogenic dewar lose vacuum seal; is that right?                24   frost appear on the bottom of the tank. And those are
25    A. That's correct.                                             25   the -- and the increased use of liquid nitrogen if


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 1   you're -- if you're filling them up. And it's like if          1   Time.
 2   we roll them somewhere and we fill them up and we see          2    Q. BY MR. DUFFY: Dr. Wininger, it's an opinion
 3   that it's much lower, then we would -- that would be           3   that you hold in this case that a rapid vacuum seal
 4   another sign.                                                  4   failure is dangerous to the samples; correct?
 5         But we've -- in our -- again, some of our                5    A. Correct.
 6   meetings that we have, you know, over -- you know, over        6    Q. Would you please explain to me why you think
 7   the last 15, 20 years, those are -- you know, people           7   that.
 8   have given presentations on things like that.                  8    A. Well, a rapid vacuum loss, whether -- in any
 9    Q. And that was one of the questions I was going              9   type of tank causes a -- you know, a rapid decrease in
10   to ask is how you came to learn about the signs and           10   the liquid nitrogen levels. And the majority of the
11   symptoms of vacuum seal loss in a cryogenic dewar.            11   samples, oocytes and embryos, are vitrified, and they
12   Could you explain how you did come to understand that?        12   really need to stay cooler than minus 150. And if they
13    A. Yes. It was -- it was through scientific                  13   -- if they get into the range of warmer than 150 and up
14   meetings, online meetings that people talk about these        14   to minus 132, you start having really significant ice
15   types of issues. There have been presentations, poster        15   crystal formation which is a major -- really detrimental
16   presentations at these meetings that we go to annually        16   to eggs and embryos. So -- and which will lead to major
17   or -- again, go to the AAB meeting that I was talking         17   tissue damage, decreased thaw rate, viability rate, and
18   about. There seemed to be always nice presentations on        18   pregnancy rates, and delivery rates.
19   signs and symptoms of a dewar going bad.                      19    Q. In terms of a rapid vacuum seal loss, it's your
20    Q. And who gave those presentations? Was it the              20   estimate that -- well, strike that.
21   lab director, or was it someone else?                         21          Your definition of "rapid," when you say a
22    A. I can't recollect who. There have been                    22   rapid vacuum seal loss is less than 24 hours; correct?
23   multiple, multiple presentations. And there are always        23    A. Well, to me rapid just means something that
24   poster presentations at these -- at these meetings as         24   occurs without any indication that there's a tank vacuum
25   well. And sometimes there's nobody at the poster to           25   problem. In -- you know, in the large tanks, small


                                                         Page 67                                                             Page 69

 1   talk to about it. You just kind of go by and read it.          1   tanks, any tanks, if you're seeing no signs that we
 2   So it's -- I can't remember who gave the presentations.        2   spoke of earlier and you have vacuum loss and loss of
 3    Q. In any of the presentations that you've either             3   liquid nitrogen, I think whether it occurs in, you know,
 4   read or attended, did any of the speakers talk about           4   5 hours, you know, or, you know, 24 hours, it's just
 5   vacuum seal loss not producing ice, condensation, or           5   something that can occur after the last time that you
 6   water?                                                         6   filled it and you come back and it's empty. I don't
 7    A. No. I do not remember anyone presenting                    7   know how -- what the time frame was, but definitely it
 8   anything saying that it would just happen without signs        8   would be less than 24 hours for sure.
 9   and symptoms. And they would always say it was good to         9    Q. Could it be as fast as 5 hours?
10   have a spare tank in case something like that did -- you      10    A. I do not know. I don't -- do not really know
11   know, if you did have a ring of frost around the bottom       11   how fast it can occur.
12   of your tank and it's cold to the touch, that was sign        12    Q. Is it more important from a standpoint of a lab
13   that the vacuum loss was going to be occurring and it         13   director to be focusing on the exterior signs and
14   would be a time to start moving samples to another tank.      14   symptoms of vacuum seal loss so that you can do
15        MR. DUFFY: We've been going for about an hour.           15   something to address it?
16   Dr. Wininger, would you like to take a short break?           16    A. Well, it's all the staff, all the embryology
17        MS. ZEMAN: We can go off the record and talk             17   staff have -- is trained in knowing when there's a
18   about that?                                                   18   potential tank failure that's imminent. So, I mean, I
19        MR. DUFFY: Yep.                                          19   would -- I would definitely be sort of in charge of
20        THE VIDEOGRAPHER: We are now going off the               20   saying, "Okay. We got to move it all -- everything from
21   record. The time is 10:13 a.m. Pacific Standard Time.         21   this tank to this tank." But everyone knows the signs
22        (Whereupon lunch recess was taken from 10:13 to          22   and symptoms of a -- of a -- of a dewar that's going bad
23          10:49.)                                                23   because it's, you know, all of them have vacuum and all
24        THE VIDEOGRAPHER: We are now going back on the           24   of them you would expect to see those signs.
25   record, and the time is 10:49 a.m. Pacific Standard           25    Q. In your undergraduate studies did you take any


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 1   physics classes?                                               1   be happening. So at that time they have told us to go
 2    A. I took one physics class.                                  2   ahead and transfer the samples when you see that, that
 3    Q. In your time as a lab director have you ever               3   you're -- there is going to be an event. The vacuum is
 4   seen an LN2 supply tank lose vacuum seal?                      4   still there, but it's losing vacuum. So when you have
 5    A. Are you talking -- you're talking about dewar?             5   the signs and symptoms, there's something you can do it
 6    Q. No. The LN2 supply cylinders with the gauges               6   about it at least.
 7   on top.                                                        7    Q. Go ahead.
 8    A. No. No, I have never seen one of those lose                8    A. Yeah, just say those -- but, I mean, those are
 9   pressure.                                                      9   the things -- I mean, we haven't had it, but these are
10    Q. Is it your memory in reviewing the depositions            10   all things that I've attended a lot of lectures on.
11   of the PFC lab personnel that none of them saw the signs      11    Q. And in the lectures and presentations that
12   and symptoms of vacuum seal loss?                             12   you've attended, have they always had liquid nitrogen
13    A. That's correct. I do not see any -- anyone                13   inside the dewar?
14   that saw a symptom of vacuum seal loss.                       14    A. There have been -- there have been some that
15    Q. And if you had seen vacuum seal loss before               15   have been inside the dewar, and they have had some
16   12:30 on March 4, you would have expected to see ice,         16   incident reports of people that have had vacuum loss and
17   water, and condensation; correct?                             17   that they showed that the tanks have gone bad and that
18         MS. ZEMAN: Could you read back the question.            18   they transferred everything to the new tank. So they --
19         (Whereupon the record was read as requested.)           19   these were, you know, slides and videos and things like
20         MS. ZEMAN: Objection. Vague and ambiguous.              20   that that show what they did when they thought that
21    Q. BY MR. DUFFY: You can answer.                             21   there was going to be an imminent loss of vacuum.
22    A. I don't -- I don't know if you would have seen            22    Q. Did you review any of those presentations prior
23   all of those symptoms when the vacuum is already totally      23   to writing your report?
24   lost. I mean, the signs that we have been discussing          24    A. No, I did not.
25   have to do with an imminent vacuum seal loss, not one         25    Q. Are you relying on any of those presentations


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 1   that has already totally occurred. Vacuum can start            1   or studies for your opinions in this case?
 2   decreasing. And when that occurs, you do have those            2    A. No.
 3   symptoms.                                                      3    Q. One of the things I think I just wanted to make
 4        But when you have the total vacuum seal loss,             4   sure I understood in terms of your understanding of
 5   generally really you would just -- you would see               5   vacuum seal loss, in all the presentation studies that
 6   condensation, you know, around the tank, but you would         6   you have read generally, did they all talk about water,
 7   not see -- since the purpose of the vacuum is to keep          7   ice, and condensation on the exterior of the freezer as
 8   the cold in and the warm out. If the vacuum's already          8   being a sign or symptom of vacuum seal loss?
 9   gone, there's not any cold in there. Or if there is,           9    A. They say it's a sign or symptom of vacuum. But
10   there is very, very little. So you really wouldn't see        10   vacuum is still present, but it -- there is an imminent
11   a big frost ring on a tank that you've already had a          11   threat of the vacuum totally not being there for -- you
12   hundred percent vacuum loss.                                  12   know, we don't know how long it's going to be there. So
13    Q. Your expectation at least; correct?                       13   they just -- you know, we've always been told when you
14    A. Correct. And that's -- I mean, those are -- I             14   see those types of symptoms that the tank is still full
15   mean, these are things that, again, we have in these          15   of liquid nitrogen, but it's cold -- cool to the touch,
16   meetings that I've gone to and posters I've read over         16   you have an ice ring around it, they say something is
17   the last, you know, 20-some years at these meetings           17   probably going to happen soon. You know, we don't know
18   about tanks. These are things that they have -- they          18   how soon. But they say this is the time where you need
19   have talked about.                                            19   to be proactive and go ahead and move your samples to
20    Q. Sure. Is that you actually would see those                20   another tank before you do have a vacuum -- total vacuum
21   signs and symptoms of vacuum seal loss on the exterior        21   loss.
22   of the -- of the tank; correct?                               22    Q. But in each of those studies the thing that's
23    A. You see them when there's an imminent threat of           23   causing the ice, the water, and the condensation is the
24   a vacuum seal loss that -- when you see those things,         24   liquid nitrogen that's inside the dewar. Is that a fair
25   you know that something -- that it's probably going to        25   statement?


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 1    A. Right. Right. As you have vacuum loss, you do               1   as the nitrogen is being depleted, you probably have
 2   start having those symptoms. You do have a ring. But            2   something going on on the outside of the tank as this is
 3   again, these dewars are -- from what have been reported         3   occurring the same as when we take nitrogen from our
 4   have been pretty well full of liquid nitrogen. But as           4   dewar -- our liquid nitrogen tanks to fill our dewars.
 5   you have vacuum loss, you do start feeling some of the          5   When that occurs, they're -- we get condensation on the
 6   cold on the -- on the outside of the tank.                      6   outside of the liquid nitrogen source.
 7    Q. Because it's escaping from inside the dewar to              7        So I just -- I just think it -- this is all
 8   the outside?                                                    8   from things that I've, you know, read and the -- and the
 9    A. Correct.                                                    9   presentations that I've gone to over the years. This is
10    Q. And the laws of physics would say what we'll               10   basically what they're saying. You just have to pay
11   see then is the development of ice and water; correct?         11   attention to your tanks and know when there's going to
12    A. Yeah. If -- as long as there's still a                     12   be a threat so you can do something about it in terms of
13   substantial amount of liquid nitrogen in the tank, you         13   the ice ring and cool to the touch.
14   will have ice on the outside of the tank.                      14    Q. You hold an opinion in the case that the eggs
15    Q. What if the inside of the dewar was empty of               15   and embryos that were in the tank before the March 2018
16   liquid nitrogen, would you expect to see ice, water, and       16   incident -- well, strike that. Let me break that up.
17   condensation on the exterior of the dewar?                     17        You reviewed the depositions in Tank 4
18        MS. ZEMAN: Objection. I think we're getting               18   controller data for 2013 and 2014; is that right?
19   beyond the scope of his expert testimony.                      19    A. Yes.
20    Q. BY MR. DUFFY: You can answer.                              20    Q. And you reviewed the success rates calculated
21    A. From what I remember, if it's totally -- if the            21   by Dr. Jewell for December 2013 and January 2014?
22   vacuum seal -- the vacuum is totally gone, you do not          22    A. Yes.
23   have all of those symptoms anymore because a lot of the        23    Q. And you concluded that there was no evidence of
24   nitrogen will be gone, if not all. It won't be cool to         24   damage to the samples that were in Tank 4 in December of
25   the touch because the nitrogen may be at extremely low         25   2013 and January of 2014. Is that a fair statement?


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 1   or zero level. And any condensation that could have            1    A. Yes.
 2   been on there has turned to water. And most people just        2
 3   say there's going to be water and under -- you know,
 4   around the tank. That's what I've always heard.
 5    Q. Well, if they're full of liquid nitrogen inside
 6   the dewar, you wouldn't expect to see ice, water, and
 7   condensation on the outside. Fair?
 8    A. If there's no nitrogen -- yeah, I wouldn't --
 9   if there's no nitrogen in the tank, I would -- I would
10   just -- I would expect to see a liquid under the -- you
11   know, around the tank because as liquid nitrogen is
12   being depleted, then now the vacuum is gone, I think at
13   some point you would have probably had some sort of
14   condensation or -- on the outside of the tank as
15   nitrogen was leaving the tank and which would just
16   basically sweat off the tank and the floor.
17    Q. But you would agree with me without a cooling
18   source inside the dewar with vacuum seal loss you're not
19   going to get the sweating on the outside, ice balls, and
20   water. Fair?
21    A. You wouldn't get the ice crystallization on the
22   outside of the tank.
23    Q. Because you have liquid source; right?
24    A. Right. You don't have a liquid nitrogen source
25   if the tank is empty. But you would have -- as I said,


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 1                                                                  1    A. Yes.
 2                                                                  2    Q. And it consistently showed a temperature of
 3                                                                  3   about negative 196 Celsius; correct?
 4                                                                  4    A. Correct.
 5                                                                  5    Q. Do you have a quality control manual for the
 6                                                                  6   labs where you act as lab director?
 7                                                                  7    A. Yes.
 8                                                                  8    Q. Do you have a QC policy concerning connecting
 9                                                                  9   cryogenic storage vessels to an alarm device?
10                                                                 10    A. Yes.
11                                                                 11    Q. And was that policy in place before the
12                                                                 12   incident at PFC in March of 2018?
13                                                                 13    A. Yes.
14                                                                 14    Q. And does your QC manual require that all your
15                                                                 15   cryogenic storage vessels be connected to an alarm's
16                                                                 16   device like a Sensaphone?
17                                                                 17    A. Yes.
18                                                                 18    Q. And was that the same policy that was in place
19                                                                 19   before the incident at PFC in March of 2018?
20                                                                 20    A. Yes.
21                                                                 21    Q. With the alarm devices that you put in your
22                                                                 22   cryogenic storage vessels, if liquid nitrogen level fell
23                                                                 23   below that 4-inch safety zone that you have, it would
24                                                                 24   cause an alarm to sound; correct?
25   n v ua s w o ave een n ec e w         epa   s; s              25    A. Correct.


                                                         Page 79                                                                   Page 81

 1                                                                  1    Q. And that's an audible alarm at the cryo storage
 2               .                                                  2   device; correct?
 3    Q. What are other diseases that require storage of            3    A. Yes. It's a audible alarm at the Cryo-Save
 4   biological tissue in LN2 vapor?                                4   unit.
 5    A. Well, if there were any -- anything like                   5    Q. And then how long before that translates into a
 6   HIV-infected samples, samples that are very -- samples         6   call from the Sensaphone?
 7   like you said, hepatitis, HIV. Those are the main ones.        7    A. At one minute.
 8   I -- you know, we have -- we have a few of those that we       8    Q. Have you ever ignored a call from the
 9   keep in a dry shipper -- and that's something else that        9   Sensaphone in any of your labs?
10   we would ship off site. Anybody with a -- with a --           10    A. No.
11   something like that, we would -- you know, we would ship      11         MR. DUFFY: I don't have any other questions.
12   that to ReproTech as well because they can store it.          12   Thank you very much for your time.
13    Q. They can store it. All right. But it is an                13         MS. ZEMAN: I may have a few redirect
14   accepted form of cryogenic storage to store human tissue      14   questions. If we could maybe take a five- to ten-minute
15   in LN2 vapor; correct?                                        15   break so I can just look over my notes.
16    A. It is. It is acceptable, but I do not know the            16         MR. DUFFY: Yeah.
17   type of tank they would use and the size of the tank          17         MS. ZEMAN: Okay. Thanks.
18   they would use to do something like that.                     18         THE VIDEOGRAPHER: We are going off the record
19    Q. When samples are stored in LN2 vapor you can              19   at 11:14 a.m.
20   achieve a temperature that allows the tissue to remain        20         (Whereupon a break was taken from 11:14 to
21   cryogenically preserved. Is that a fair statement?            21          11:26.)
22    A. Yes.                                                      22         THE VIDEOGRAPHER: We are now going back on the
23    Q. And in looking at the controller data for Tank            23   record. And the time is 11:26 a.m. Pacific Standard
24   4, it maintained a temperature log for that period            24   Time.
25   December 2013 and January 2014; is that right?                25   //


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                                                                      1                 DEPOSITION OFFICER'S CERTIFICATE
 1              EXAMINATION BY MS. ZEMAN
                                                                      2                    (Civ. Proc. § 2025.520(e))
 2     Q. Dr. Wininger, there's just one matter I wanted
                                                                      3   STATE OF CALIFORNIA          )
 3    to revisit. And that was earlier in your testimony I                                             )     ss
                                                                      4   COUNTY OF CONTRA COSTA       )
 4    believe Mr. Duffy asked you if you had reviewed the Tank
                                                                      5
 5    4 controller data. And my recollection is that you
 6    thought you had not reviewed that. Does that sound
                                                                      6             I, CHERREE P. PETERSON, hereby certify:

 7    familiar?                                                       7             I am a duly qualified Certified Shorthand

 8     A. Yeah, that's familiar.                                      8   Reporter, in the State of California, holder of

 9     Q. Okay. If you could look at page 29 of your                  9   Certificate Number CSR 11108 issued by the Court
10    report. And once you get there about at a third of the         10   Reporters Board of California and which is in full force

11    way down there's a reference to CHART070093 and then a         11   and effect.     (Fed. R. Civ. P. 28(a)).
12    parentheses reference to a maximum event log. Do you           12             I am authorized to administer oaths or
13    recollect what that document is?                               13   affirmations pursuant to California Code of Civil
14     A. Yes. It's the controller, the controller data              14   Procedure, Section 2093(b) and prior to being examined,

15    for Tank 4.                                                    15   the witness was first duly sworn by me.     (Fed. R. Civ.
16     Q. So does that refresh your recollection if you              16   P. 28(a), 30(f)(1)).
17    reviewed that material?                                        17            I am not a relative or employee of any attorney
18     A. Yes, I did -- I did look at it. I reviewed it.             18   or counsel of any of the parties, nor am I a relative or
19    It was a ton of -- ton of information. I certainly             19   employee of such attorney or counsel, nor am I
20    didn't memorize anything. But I looked over it and just        20   financially interested in this action.   (Fed. R. Civ. P.
21    tried to familiar myself -- familiarize myself with some       21   28).
22    of that. But now that I remember exactly what that was,        22             I am the deposition officer that
23    I did -- I did spend some time looking over that.              23   stenographically recorded the testimony in the foregoing
24     Q. And you reviewed that partially in relation to             24   deposition and the foregoing transcript is a true record
25    the 2013 and 2014 alleged prior warming events; correct?       25   of the testimony given by the witness.   (Fed. R. Civ. P.


                                                           Page 83                                                          Page 85
 1      A.     Yes, that's correct.                           1           30(f)(1)).
 2             MS. ZEMAN:     No further questions.           2                    Before completion of the deposition, review of
 3            MR. DUFFY: Okay. I think we're all done;        3           the transcript (xx) was ( ) was not requested.        If
 4   right?                                                   4           requested, any changes made by the deponent (and
 5            THE VIDEOGRAPHER: This marks the end of the     5           provided to the reporter) during the period allowed, are
 6   remote deposition. We are going off the record at 11:28  6           appended hereto.     (Fed. R. Civ. P. 30(e)).
 7   a.m. Pacific Standard Time. Thank you, Counsel.          7
 8            (Whereupon the proceedings were concluded at    8           Dated: December 1, 2020
 9             11:28 a.m.)                                    9
10                           ---oOo---                       10
11   //                                                      11
12   //                                                      12
13               I have read the foregoing deposition        13
14   transcript and by signing hereafter, approve same. 14                                          ___________________________
15                                                           15
16   Dated_____________________.                             16
17                                                           17
18                          ______________________________ 18
                                 (Signature of Deponent)
19                                                           19
20                                                           20
21                                                           21
22                                                           22
23                                                           23
24                                                           24
25                                                           25


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